                                               UNITED STATES BANKRUPTCY COURT
                                                 EASTERN DISTRICT OF MICHIGAN
                                                      SOUTHERN DIVISION

       In re: RADTKE, KELLI J.                                    §      Case No. 17-50949 PJS
                                                                  §
                                                                  §
                                                                  §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              K. Jin Lim, chapter 7 trustee, submits this Final Account, Certification that the Estate has been Fully
      Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $71,774.50                                   Assets Exempt:      $16,850.00
      (without deducting any secured claims)

      Total Distributions to Claimants:        $3,305.29                Claims Discharged
                                                                        Without Payment:      $114,416.47


      Total Expenses of Administration:         $4,194.71




               3) Total gross receipts of $7,500.00 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $7,500.00 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                     $69,190.29                $0.00                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00            $4,194.71            $4,194.71             $4,194.71


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                $4,438.71            $6,778.30            $6,778.30             $3,305.29

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                              $108,911.77           $82,959.15           $82,959.15                 $0.00


   TOTAL DISBURSEMENTS                           $182,540.77           $93,932.16           $93,932.16             $7,500.00




                 4) This case was originally filed under chapter 7 on 07/31/2017. The case was pending for 23
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        07/02/2019                        By: /s/ K. Jin Lim
                                                                           Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                             $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                          RECEIVED

 APPROX 21,000 BOOK INVENTORY LOCATION: STORAGE SENSE                                           1129-000                              $7,500.00

                             TOTAL GROSS RECEIPTS                                                                                     $7,500.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                    $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                     PAID

                                                                          None




EXHIBIT 3 - SECURED CLAIMS



                                             UNIFORM              CLAIMS
     Claim                                                                                  CLAIMS                  CLAIMS            CLAIMS
                 CLAIMANT                     TRAN.             SCHEDULED
      NO.                                                                                  ASSERTED                ALLOWED             PAID
                                              CODE            (from Form 6D)


      N/F       Nationstar Mortgage           4110-000                $62,475.08                       NA                NA                  NA

      N/F       PNC Bank Mortgage             4110-000                 $6,715.21                       NA                NA                  NA
                Services

                   TOTAL SECURED                                      $69,190.29                    $0.00              $0.00              $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                       UNIFORM       CLAIMS                CLAIMS              CLAIMS              CLAIMS
   PAYEE                                TRAN.      SCHEDULED              ASSERTED            ALLOWED               PAID
                                        CODE

 Trustee, Fees - K. Jin Lim, Trustee   2100-000                 NA             $1,500.00          $1,500.00        $1,500.00

 Trustee, Expenses - K. Jin Lim,       2200-000                 NA               $100.00            $100.00            $100.00
 Trustee
 Banking and Technology Service        2600-000                 NA                $95.00             $95.00             $95.00
 Fee - Rabobank, N.A.
 Attorney for Trustee Fees (Other      3210-000                 NA             $2,300.00          $2,300.00        $2,300.00
 Firm) - Dakmak Peurach P.C.
 Attorney for Trustee Expenses         3220-000                 NA               $199.71            $199.71            $199.71
 (Other Firm) - Dakmak Peurach
 P.C.
 TOTAL CHAPTER 7 ADMIN. FEES
                                                                NA             $4,194.71          $4,194.71        $4,194.71
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                              UNIFORM           CLAIMS               CLAIMS              CLAIMS               CLAIMS
          PAYEE
                             TRAN. CODE       SCHEDULED             ASSERTED            ALLOWED                PAID

                                                             None




EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                          CLAIMS
                                       UNIFORM        CLAIMS
                                                                         ASSERTED             CLAIMS              CLAIMS
 CLAIM NO.           CLAIMANT           TRAN.      SCHEDULED
                                                                      (from Proofs of        ALLOWED               PAID
                                        CODE      (from Form 6E)
                                                                           Claim)

     5P        Michigan Department     5800-000         $4,438.71              $6,778.30          $6,778.30        $3,305.29
               of Treasury

           TOTAL PRIORITY
          UNSECURED CLAIMS                              $4,438.71              $6,778.30          $6,778.30        $3,305.29




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EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                         CLAIMS
                                      UNIFORM        CLAIMS
                                                                        ASSERTED         CLAIMS            CLAIMS
 CLAIM NO.         CLAIMANT            TRAN.      SCHEDULED
                                                                     (from Proofs of    ALLOWED             PAID
                                       CODE      (from Form 6F)
                                                                          Claim)

     1       First Data Global        7100-000           $718.00              $862.27      $862.27            $0.00
             Leasing by American
             InfoSource LP as agent



     2       MIDLAND FUNDING          7100-000                 NA           $1,709.95     $1,709.95           $0.00
             LLC

     3       US DEPARTMENT OF         7100-000        $17,532.00           $17,609.52    $17,609.52           $0.00
             EDUCATION CLAIMS
             FILING UNIT

     4       Melissa A. Bliss         7100-000        $51,374.45           $50,609.00    $50,609.00           $0.00


     5U      Michigan Department      7100-000                 NA           $1,446.57     $1,446.57           $0.00
             of Treasury Bankruptcy
             Unit

     6       PNC Bank, N.A.           7100-000         $6,836.00            $9,727.35     $9,727.35           $0.00


     7       Portfolio Recovery       7100-000           $994.00              $994.49      $994.49            $0.00
             Associates, LLC

    N/F      Atlantic Credit &        7100-000              $50.00                NA            NA              NA
             Finance, Inc.

    N/F      Chase Card               7100-000         $4,499.00                  NA            NA              NA


    N/F      Citi Cards               7100-000         $3,318.00                  NA            NA              NA


    N/F      Citicards CBNA           7100-000         $3,608.00                  NA            NA              NA


    N/F      Consumers Energy         7100-000           $302.09                  NA            NA              NA


    N/F      DTE Energy (USE          7100-000              $78.88                NA            NA              NA
             THIS ONE)

    N/F      SYNCB/Amazon             7100-000         $3,318.00                  NA            NA              NA


    N/F      SYNCB/Lowes              7100-000               $0.00                NA            NA              NA


    N/F      TCI Investments          7100-000         $7,200.00                  NA            NA              NA



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    N/F     Timothy Radtke         7100-000         $9,000.00              NA             NA            NA


    N/F     WOW! Internets Cable   7100-000              $83.35            NA             NA            NA


    N/F     Waste Management of    7100-000               $0.00            NA             NA            NA
            Michigan

           TOTAL GENERAL
          UNSECURED CLAIMS                        $108,911.77       $82,959.15     $82,959.15         $0.00




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                                                               Form 1
                                                                                                                                                           Exhibit 8
                                           Individual Estate Property Record and Report                                                                    Page: 1

                                                            Asset Cases
Case No.:    17-50949 PJS                                                                         Trustee Name:      (420180) K. Jin Lim
Case Name:         RADTKE, KELLI J.                                                               Date Filed (f) or Converted (c): 07/31/2017 (f)
                                                                                                  § 341(a) Meeting Date:       09/07/2017
For Period Ending:         07/02/2019                                                             Claims Bar Date:      03/08/2018

                                       1                                  2                      3                      4                   5                   6

                           Asset Description                           Petition/         Estimated Net Value     Property Formally     Sale/Funds          Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled        (Value Determined By        Abandoned        Received by the    Administered (FA)/
                                                                        Values                 Trustee,             OA=§554(a)           Estate          Gross Value of
                                                                                       Less Liens, Exemptions,       abandon.                           Remaining Assets
  Ref. #                                                                                  and Other Costs)

    1       5010 HARRISON STREET, WAYNE, MI                             65,000.00                         0.00                                   0.00                        FA
            48184-0000, WAYNE COUNTY
            Single-family home. Entire property value: $65,000.00

    2       USED BY DEBTOR PERSONALLY; NO                                 2,500.00                        0.00                                   0.00                        FA
            SINGLE ITEM >$600 SEE ATTACHED
            SUPPLEMENTAL LIST; DEBTOR'S
            RESIDENCE

    3       3 TVS, 2 SMART PHONE, DVD/BLUE                                    250.00                      0.00                                   0.00                        FA
            RAY PLAYER, LAPTOP, DESKTOP
            LOCATION: 5010 HARRISON STREET,
            WAYNE ML 48184

    4       USED BY DEBTOR PERSONALLY; NO                                     500.00                      0.00                                   0.00                        FA
            SINGLE ITEM >$600 SEE ATTACHED
            SUPPLEMENTAL LIST; DEBTOR'S
            RESIDENCE

    5       JEWELRY USED BY THE DEBTOR                                        500.00                      0.00                                   0.00                        FA
            PERSONALLY SEE ATTACHED
            SUPPLEMENTAL LIST; DEBTOR'S
            RESIDENCE

    6       2 DOGS LOCATION: 5010 HARRISON                                      0.00                      0.00                                   0.00                        FA
            STREET, WAYNE ML 48184

    7       CASH                                                                1.00                      0.00                                   0.00                        FA

    8       CHECKING: PNC BANK                                                  8.50                      0.00                                   0.00                        FA

    9       CHECKING & SAVINGS ACCOUNTS:                                       15.00                      0.00                                   0.00                        FA
            WAYNE WESTLAND FED CU

   10       FLAGSTAR BANK CD                                                  750.00                      0.00                                   0.00                        FA

   11       PAPER BACKS & THINGS (SOLE                                   Unknown                          0.00                                   0.00                        FA
            PROPIETORSHIP), 100% OWNERSHIP

   12       COPYRIGHTS ON 45 BOOKS (SEE                                  Unknown                          0.00                                   0.00                        FA
            ATTACHED LIST) (THERE MAY BE A
            50% INTEREST OWNED IN 25 CO-
            AUTHORED BOOKS)

   13       2017 INCOME TAX REFUNDS                                       2,250.00                        0.00                                   0.00                        FA
            ESTIMATED AND PRORATED:
            FEDERAL & STATE

   14       SHELVES, DISPLAY EQUIP.,                                     Unknown                          0.00                                   0.00                        FA
            REGISTER, PRINTER & FAX &
            BUSINESS RECORDS & OTHER
            OFFICE EQUIP. LOCATION: STORAGE
            SENSE
            included with asset #15 p/o 01/14/18

   15       APPROX 21,000 BOOK INVENTORY                                 Unknown                     7,000.00                               7,500.00                         FA
            LOCATION: STORAGE SENSE
            p/o 01/04/18 9 (includes asset #14 per order)

   16       VOID 17-50949-pjs
                 (u)                               Doc 48           Filed 07/09/19
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                                                           Form 1
                                                                                                                                                  Exhibit 8
                                       Individual Estate Property Record and Report                                                               Page: 2

                                                        Asset Cases
Case No.:    17-50949 PJS                                                             Trustee Name:      (420180) K. Jin Lim
Case Name:        RADTKE, KELLI J.                                                    Date Filed (f) or Converted (c): 07/31/2017 (f)
                                                                                      § 341(a) Meeting Date:       09/07/2017
For Period Ending:       07/02/2019                                                   Claims Bar Date:      03/08/2018

                                   1                             2                   3                      4                    5                     6

                           Asset Description                  Petition/      Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)    Unscheduled     (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                               Values              Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                           Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                      and Other Costs)


   16       Assets Totals (Excluding unknown values)          $71,774.50                 $7,000.00                              $7,500.00                     $0.00



 Major Activities Affecting Case Closing:

                                04/15/19 Claims have been reviewed. Case is ready to be closed.
                                04/11/19 final payment received.
                                01/14/19 collecting payments; on time.
                                09/28/18 collecting payments; debtor is on time.
                                07/02/18 collecting payments; on time
                                03/30/18 collecting payments per order.
                                01/12/18 settlement with debtor reached for $7500.
                                10/13/17 investigating debtor's financial affairs. Conducted Rule 2004 Exam. Pursuing possible settlement
                                with debtor re: book inventory and pursuing avoidable preferences to Debtor's husband. jt


 Initial Projected Date Of Final Report (TFR): 06/29/2018                  Current Projected Date Of Final Report (TFR):             04/15/2019 (Actual)




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UST Form 101-7-TDR ( 10 /1/2010)
                                                              Form 2                                                                         Exhibit 9
                                                                                                                                             Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:              17-50949 PJS                                    Trustee Name:                     K. Jin Lim (420180)
Case Name:             RADTKE, KELLI J.                                Bank Name:                        Rabobank, N.A.
Taxpayer ID #:         **-***8487                                      Account #:                        ******2700 Checking
For Period Ending: 07/02/2019                                          Blanket Bond (per case limit): $2,000,000.00
                                                                       Separate Bond (if applicable): N/A
    1          2                          3                                   4                               5                 6                     7

  Trans.    Check or        Paid To / Received From       Description of Transaction         Uniform       Deposit         Disbursement       Account Balance
   Date      Ref. #                                                                         Tran. Code       $                   $

 01/22/18                Kelli Radtke                   sale proceeds p/o 01/04/18          1129-000              500.00                                   500.00

              {15}                                      Acct #1; Payment #1                 1129-000                                                       500.00

                                                                                  $500.00

 01/31/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                 490.00
                                                        Fees

 02/28/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                 480.00
                                                        Fees

 03/05/18                Timothy G Radtke               sale proceeds p/o 01/04/18          1129-000              500.00                                   980.00

              {15}                                      Acct #1; Payment #2                 1129-000                                                       980.00

                                                                                  $500.00

 03/26/18                Kelli Radtke                   sale proceeds p/o 01/04/18          1129-000              500.00                                  1,480.00

              {15}                                      Acct #1; Payment #3                 1129-000                                                      1,480.00

                                                                                  $500.00

 03/30/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                1,470.00
                                                        Fees

 04/25/18                Kelli Radtke                   sale proceeds p/o 01/04/18          1129-000              500.00                                  1,970.00

              {15}                                      Acct #1; Payment #4                 1129-000                                                      1,970.00

                                                                                  $500.00

 04/30/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                1,960.00
                                                        Fees

 05/31/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                1,950.00
                                                        Fees

 06/04/18                Kelli Radtke                   sale proceeds p/o 01/04/18          1129-000              500.00                                  2,450.00

              {15}                                      Acct #1; Payment #5                 1129-000                                                      2,450.00

                                                                                  $500.00

 06/29/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                2,440.00
                                                        Fees

 07/02/18                Kelli Radtke                   settlement payment p/o 01/04/18     1129-000              500.00                                  2,940.00

              {15}                                      Acct #1; Payment #6                 1129-000                                                      2,940.00

                                                                                  $500.00

 07/31/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                2,930.00
                                                        Fees

 08/06/18                Timothy G Radke                settlement payment p/o 01/04/18     1129-000              500.00                                  3,430.00

              {15}                                      Acct #1; Payment #7                 1129-000                                                      3,430.00

                                                                                  $500.00

 08/31/18                Rabobank, N.A.                 Bank and Technology Services        2600-000                                 10.00                3,420.00
                                                        Fees

 09/06/18                Timothy Radtke                 settlement payment p/o 01/04/18     1129-000              500.00                                  3,920.00

                                                                                     Page Subtotals:         $4,000.00              $80.00     true

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{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                          ! - transaction has not been cleared
                                                               Form 2                                                                                     Exhibit 9
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                                               Cash Receipts And Disbursements Record
Case No.:                 17-50949 PJS                                       Trustee Name:                     K. Jin Lim (420180)
Case Name:                RADTKE, KELLI J.                                   Bank Name:                        Rabobank, N.A.
Taxpayer ID #:            **-***8487                                         Account #:                        ******2700 Checking
For Period Ending: 07/02/2019                                                Blanket Bond (per case limit): $2,000,000.00
                                                                             Separate Bond (if applicable): N/A
    1             2                        3                                        4                               5                      6                        7

  Trans.       Check or      Paid To / Received From            Description of Transaction         Uniform       Deposit             Disbursement          Account Balance
   Date         Ref. #                                                                            Tran. Code       $                       $

                 {15}                                        Acct #1; Payment #8                  1129-000                                                              3,920.00

                                                                                        $500.00

 09/28/18                 Rabobank, N.A.                     Bank and Technology Services         2600-000                                        5.00                  3,915.00
                                                             Fees

 10/15/18                 Timothy G Radtke                   settlement payment p/o 01/04/18      1129-000              500.00                                          4,415.00

                 {15}                                        Acct #1; Payment #9                  1129-000                                                              4,415.00

                                                                                        $500.00

 10/31/18                 Rabobank, N.A.                     Bank and Technology Services         2600-000                                        5.00                  4,410.00
                                                             Fees

 11/08/18                 Kelli Radtke                       Settlement payment p/o 01/04/18      1129-000              500.00                                          4,910.00

                 {15}                                        Acct #1; Payment #10                 1129-000                                                              4,910.00

                                                                                        $500.00

 11/30/18                 Rabobank, N.A.                     Bank and Technology Services         2600-000                                        5.00                  4,905.00
                                                             Fees

 12/07/18                 Kelli Radke                        settlement payment p/o 01/04/18      1129-000              500.00                                          5,405.00

                 {15}                                        Acct #1; Payment #11                 1129-000                                                              5,405.00

                                                                                        $500.00

 01/10/19                 Kelli Radtke                       settlement payment p/o 01/04/18      1129-000              500.00                                          5,905.00

                 {15}                                        Acct #1; Payment #12                 1129-000                                                              5,905.00

                                                                                        $500.00

 02/11/19                 Timothy G Radtke                   settlement payment p/o 01/04/18      1129-000              500.00                                          6,405.00

                 {15}                                        Acct #1; Payment #13                 1129-000                                                              6,405.00

                                                                                        $500.00

 02/13/19                 Transfer Debit to Metropolitan     Transition Debit to Metropolitan     9999-000                                  6,405.00                        0.00
                          Commercial Bank acct ******9557    Commercial Bank acct
                                                             3910009557

                                               COLUMN TOTALS                                                         6,500.00                  6,500.00                    $0.00
                                                     Less: Bank Transfers/CDs                                              0.00                6,405.00
                                               Subtotal                                                              6,500.00                    95.00
        true
                                                     Less: Payments to Debtors                                                                     0.00

                                               NET Receipts / Disbursements                                         $6,500.00                   $95.00


                                                                                                                                                            false




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{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                    ! - transaction has not been cleared
                                                               Form 2                                                                                   Exhibit 9
                                                                                                                                                        Page: 3
                                               Cash Receipts And Disbursements Record
Case No.:                 17-50949 PJS                                      Trustee Name:                      K. Jin Lim (420180)
Case Name:                RADTKE, KELLI J.                                  Bank Name:                         Metropolitan Commercial Bank
Taxpayer ID #:            **-***8487                                        Account #:                         ******9557 Checking Account
For Period Ending: 07/02/2019                                               Blanket Bond (per case limit): $2,000,000.00
                                                                            Separate Bond (if applicable): N/A
    1             2                        3                                        4                               5                    6                        7

  Trans.       Check or       Paid To / Received From           Description of Transaction         Uniform       Deposit           Disbursement          Account Balance
   Date         Ref. #                                                                            Tran. Code       $                     $

 02/13/19                 Transfer Credit from Rabobank,     Transition Credit from Rabobank,     9999-000           6,405.00                                         6,405.00
                          N.A. acct ******2700               N.A. acct 5020832700

 03/15/19                 Timothy Radtke                     settlement payment p/o 01/04/18      1129-000              500.00                                        6,905.00

                 {15}                                        Acct #1; Payment #14                 1129-000                                                            6,905.00

                                                                                        $500.00

 04/11/19                 Timothy Radtke                     settlement payment p/o 01/04/18      1129-000              500.00                                        7,405.00

                 {15}                                        Acct #1; Payment #15                 1129-000                                                            7,405.00

                                                                                        $500.00

 05/16/19       1000      K. Jin Lim, Trustee                Distribution payment - Dividend      2100-000                                1,500.00                    5,905.00
                                                             paid at 100.00% of $1,500.00;
                                                             Claim # FEE; Filed: $1,500.00

 05/16/19       1001      K. Jin Lim, Trustee                Distribution payment - Dividend      2200-000                                   100.00                   5,805.00
                                                             paid at 100.00% of $100.00; Claim
                                                             # ; Filed: $100.00

 05/16/19       1002      Dakmak Peurach P.C.                Distribution payment - Dividend      3210-000                                2,300.00                    3,505.00
                                                             paid at 100.00% of $2,300.00;
                                                             Claim # ; Filed: $2,300.00

 05/16/19       1003      Dakmak Peurach P.C.                Distribution payment - Dividend      3220-000                                   199.71                   3,305.29
                                                             paid at 100.00% of $199.71; Claim
                                                             # ; Filed: $199.71

 05/16/19       1004      Michigan Department of Treasury    Distribution payment - Dividend      5800-000                                3,305.29                        0.00
                                                             paid at 48.76% of $6,778.30;
                                                             Claim # 5P; Filed: $6,778.30

                                               COLUMN TOTALS                                                         7,405.00                7,405.00                    $0.00
                                                     Less: Bank Transfers/CDs                                        6,405.00                    0.00
                                               Subtotal                                                              1,000.00                7,405.00
        true
                                                     Less: Payments to Debtors                                                                   0.00

                                               NET Receipts / Disbursements                                         $1,000.00             $7,405.00


                                                                                                                                                          false




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{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                  ! - transaction has not been cleared
                                                      Form 2                                                                 Exhibit 9
                                                                                                                             Page: 4
                                      Cash Receipts And Disbursements Record
Case No.:          17-50949 PJS                               Trustee Name:                   K. Jin Lim (420180)
Case Name:         RADTKE, KELLI J.                           Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:     **-***8487                                 Account #:                      ******9557 Checking Account
For Period Ending: 07/02/2019                                 Blanket Bond (per case limit): $2,000,000.00
                                                              Separate Bond (if applicable): N/A




                                                                                                 NET                    ACCOUNT
                                TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS               BALANCES
                                ******2700 Checking                               $6,500.00           $95.00                    $0.00

                                ******9557 Checking Account                       $1,000.00                $7,405.00             $0.00

                                                                                  $7,500.00                $7,500.00             $0.00




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